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                    In the United States District Court

             Central District of California – Western Division



               JENNY LISETTE FLORES, et al., Plaintiffs,

                                     v.

                  WILLIAM P. BARR, et al., Defendants.



                     Case No. CV 85-4544-DMG (AGRx)

             Hon. Dolly M. Gee, United States District Judge



                            Second Report

         Of the Special Master/Independent Monitor



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    1. INTRODUCTION
       This Second Report of Independent Monitor/Special Master (Second
 Report) continues the analysis of the merits of claims by Plaintiffs of
 violations of the Flores Settlement Agreement (FSA, Doc. # 101), and the
 Court’s Orders of June 27, 2017 (Doc. # 363) and July 30, 2018 (Doc. # 470)
 against U.S. Customs and Border Protection (CBP), U.S. Immigration and
 Customs Enforcement (ICE), and Office of Refugee Resettlement (ORR) of the
 Department of Health and Human Services (HHS).

       Unlike the First Report, which was designed primarily to “set the
 table” for the primary areas to examine, it was contemplated originally that
 this Second Report, which was only to cover events of March, April, May, and
 June 2019, would not only detail the examination by the Monitor of
 Defendants’ compliance, but, as importantly, make conclusions and
 recommendations as to any violations found by the Monitor. However, as
 explained further below, the Monitor will defer drawing any conclusions in
 this Second Report, since at the time of writing, the Monitor has been sitting
 as a mediator in three mediations with counsel for Plaintiffs and Defendants.
 As will also be explained, at the urging of counsel, this Report will also
 comment on recent developments in July and August.

       Because the period covered by this Second Report—indeed, virtually
 the entire period since the Monitor’s appointment—has been characterized by
 a dramatic increase in the arrival of minors at the southern border. Part 2 of
 this Second Report summarizes the data on the magnitude of the increase in
 the arrivals of both minors and adults, particularly those seeking asylum.



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 Work as Special Master

       Settlement negotiations are ongoing following sessions in three
 mediation/litigation tracks before the Monitor.

       In track one, beginning in early spring, the parties met and conferred
 regarding informed consent for the administration of psychotropic
 medications at HHS Residential Treatment Facilities, a central issue in the
 Court’s July 30, 2018 Order. (Doc. # 470.) On March 28, 2019, the Monitor
 presided over a full-day mediation between the parties. As of August 15,
 2019, the parties had significantly narrowed the issues but the conflict has
 not yet been resolved.

       In track two, on May 31, 2019, Plaintiffs applied for leave to file under
 seal a Motion to Enforce concerning the length of stay and conditions at
 HHS’s Homestead facility. (Doc. # 547.) With the Court’s leave, Plaintiffs
 later filed on the public docket a redacted version of the Motion to Enforce.
 (Doc. # 578.) On June 10, 2019, the Court ordered Plaintiffs’ Motion to
 Enforce to the Monitor for mediation, and referred the Motion to Enforce to
 the Monitor for a Report and Recommendation if the mediation is ultimately
 unsuccessful. (Doc. ## 553, 602.) The mediation took place on
 June 20 and 21, 2019 in Washington D.C. The Defendants have filed
 additional briefings (Doc. ## 609, 612) and the Court has ordered the
 Plaintiffs to respond with a motion for hearing date directed to the Special
 Master (Doc. # 623).

       Mediation in track three arose from Plaintiffs’ allegations of serious
 and significant violations of the Court’s June 27, 2017 Order and the FSA
 with respect to the conditions at McAllen Station and the Centralized


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 Processing Center (commonly referred to as the “CPC-Ursula”) in CBP’s Rio
 Grande Valley (RGV) Border Patrol Sector and Clint Border Patrol station in
 CBP’s El Paso Border Patrol Sector. The Notices of Non-Compliance (Notices)
 contain specific allegations of unsafe and unsanitary conditions in Clint
 border station, McAllen border station, and the CPC-Ursula, and describe
 dangerous conditions at those locations for infants and young mothers, and
 allege a need for curative measures on hygiene, nutrition and living
 conditions. The Notices were followed by an Application for Temporary
 Restraining Order (TRO Application, Doc. # 572), including more than 45
 declarations of minors, parents, and medical experts, to which the
 government filed a Response (Doc. # 574) containing its initial opposition to
 the TRO Application. On June 28, 2019, the Court found that the emergent
 nature of the Plaintiffs’ allegations demanded immediate action, and referred
 the TRO Application to expedited mediation before the Monitor.
 (Doc. # 576.)

       Pursuant to the June 28, 2019 Order, the parties met in an all-day
 session on July 10, 2019. Senior CBP officials participated in that session. On
 July 12, 2019, the parties filed a Joint Status Report regarding the
 confidential mediation efforts. (Doc. # 599.) The Status Report references the
 agreement of the parties to the appointment of Dr. Paul Wise, MD, MPH as
 an expert consultant to the Monitor in assessing child health and safety
 conditions in CBP and ORR. The parties intend to engage in mediation again
 following the preparation of a report by Dr. Wise. Dr. Wise delivered his
 initial draft Report to counsel on August 15, 2019.

       Since it is the Monitor’s responsibility under the June 28, 2019 Order
 and Paragraph D.3 of the Appointment Order (Doc. # 494) to prepare a


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 Report and Recommendation to the Court should the parties be unable to
 reach agreement, this Report will detail only information gathered by the
 Monitor outside of the three concurrent mediations.

       Part 3 of this Second Report will discuss the Monitor’s examination of
 the allegations of violations by CBP related to the provision of safe and
 sanitary facilities while the minors are in CBP custody and CBP’s compliance
 with the National Standards on Transportation, Escort, Detention, and
 Search (TEDS) and the Trafficking Victims Protection Reauthorization Act
 (TVPRA, 8 U.S.C. § 1232).

       Part 4 of this Second Report details the length of stay of family units in
 the Karnes County Residential Center and South Texas Family Residential
 Center (Dilley), which are managed by ICE.

       Part 5 of this Second Report will focus on the extent to which ORR and
 its private contractors have fulfilled the FSA’s requirement to release minors
 as expeditiously as possible in the event of an emergency or influx. All
 parties are in agreement that the entire system is in a condition of influx, but
 the parties are in disagreement as to whether ORR and the private
 contractors are in compliance. This Second Report provides aggregate
 statistics on the capacity and length-of stay issues as well as the nature of
 the Monitor’s investigation when at Homestead on March 25 and 26, 2019.

       Part 6 will identify certain significant events not specifically covered by
 the Court’s prior Orders that have been reported in the public media.

       Part 7 of this Second Report outlines near-term events.




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 2. THE INFLUX AND EMERGENCY CONDITIONS OF
    UNACCOMPANIED MINORS AND FAMILY UNITS
       The rise in the number of unaccompanied alien children (UACs) and
 family units 1 crossing the border and presenting themselves to CBP over the
 last year is well known and has been dramatic. This increase from 2018
 through 2019 has had an undeniable adverse impact on the performance of
 CBP, ICE, and ORR, which together have responsibility for the supervision
 and care of the minors and their families.

       As UACs and family units cross the border and present themselves to
 CBP, the agency is tasked with encountering the UACs and family units and
 making the initial decisions of admissibility. CBP processes the initial
 paperwork which will identify them throughout their time in the United
 States. Table 1 is taken from data posted on the CBP website and shows the
 number of persons apprehended by the U.S. Border Patrol between ports of
 entry on the southwest border. 2 Table 1 indicates that the numbers of UACs
 and family units being apprehended have risen dramatically during an eight-
 month period. The impact of these increases has been felt in each of the
 Border Patrol facilities in the RGV Sector, especially the McAllen border
 station and CPC-Ursula. CPC-Ursula became operational in summer 2014 for
 the purpose of providing more open and habitable short-term detention for
 family units and UACs, whose crossings into the United States were


 1 The term “family units” refers to family members who are apprehended together
 by the U.S. Border Patrol. Thus, for example, two children apprehended while
 traveling with one adult parent or legal guardian would be represented as three
 individuals in the family unit data.
 2Apprehension statistics are publicly available at
 https://www.cbp.gov/newsroom/stats/sw-border-migration


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 beginning to increase in numbers not seen before. During fiscal year 2019,
 June has shown the first modest monthly reduction in numbers of UACs and
 family units encountered at the border. Nonetheless, during that month, CBP
 apprehended 22,444 more persons in the RGV Sector than the agency had
 apprehended in October 2018.


                Monthly U.S. Border Patrol Apprehensions in RGV
                         First Nine Months of FY 2019
                                      Family      Single
                           UACs        Units      Adults      Total
         October-18           2,308    11,525        6,920     20,753
         November-18          2,310    11,487        6,916     20,713
         December-18          1,881    10,630        5,861     18,372
         January-19           2,185      9,942       5,589     17,716
         February-19          2,912    14,430        8,024     25,366
         March-19             3,714    20,962        9,079     33,755
         April-19             3,761    22,895       10,073    36,729
         May-19               4,877    33,960       11,018     49,855
         June-19              3,903    30,165        9,129     43,197

                                     Table 1



       While touring the southwest border facilities, on March 27, 2019, then-
 Commissioner of CBP Kevin McAleenan addressed the national picture in a
 televised news conference in El Paso, stating:
        This stark and increasing shift to more vulnerable populations
        combined with overwhelming numbers, inadequate capacity to
        detain families and children at ICE and HHS respectively is
        creating a humanitarian crisis. In March, almost 40,000
        children will come into CBP custody after completing a
        harrowing journey in the hands of violent and callous
        smugglers through Mexico. . . .

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           We are applying the additional funding we received in the
           FY19 budget for humanitarian purposes, extending our
           medical contracts to key sectors including here in El Paso so
           that we may care for more migrants more expeditiously as they
           arrive. We’re augmenting our law enforcement assets with
           contract support for migrant care and food services. We’re
           enhancing our transportation contracts and establishing new
           processing facilities, including a planned center here in the El
           Paso area. . . .

           Even with all these steps, with the flows at these levels and
           increasing, combined with the lack of bed space from our
           partners, it means we will be continued [sic] to be challenged to
           provide humane care for those in our custody. . . .

           [W]e are doing everything we can to simply avoid a tragedy in
           a CBP facility. But with these numbers, with the types of
           illnesses we’re seeing in the border, I fear that it’s just a
           matter of time.[3]

       Sadly, since March 27, 2019, more tragedies at the border have come to
 light, some occurring while migrants and children were in custody and some
 endured by those who made the perilous journey and died in the waters of the
 Rio Grande or in the unforgiving terrain of the desert. Although the
 childhood deaths of Mariee Juárez, Darlyn Cristabel Cordove-Valle, Jakelin
 Caal Maquín, Felipe Gomez Alonzo, Juan de León Gutiérrez, Wilmer Josué
 Ramírez Vásquez, and Carlos Hernandez Vásquez while or after being in
 custody of the United States government continue to be under investigation,




       3 El Paso Press Conf. Trans., U.S. Customs and Border Protection (Mar. 27,
 2019), available at https://www.cbp.gov/newsroom/speeches-and-statements/el-paso-
 press-conference-transcript.


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 Part 6 describes the preliminary information available through public
 sources.



 3. ALLEGED BREACHES OF THE FSA BY CBP

       For CBP in the RGV Sector, the issues remain the same as in the First
 Report. The allegations of severe overcrowding and excessive length of
 custody, lack of appropriate food for minors, inability of detainees to sleep,
 ambient temperatures outside a reasonably comfortable range, and lack of
 access to medical treatment remain unresolved.

       A. Overcrowding and Duration of Custody

       During this period, CBP continues to experience two related issues:
 overcrowding of detention facilities and prolonged duration of time in
 custody. It should be noted at the outset that excessive duration of CBP
 custody and concomitant overcrowding can be exacerbated by conditions
 downstream of CBP. The expectation that CBP will hold detainees for no
 more than 72 hours is premised on the assumption that thereafter they will
 become the responsibility of either ICE (for minors in family units) or ORR
 (for UACs). (FSA, ¶12.A.) During the current influx, capacity at ORR, in
 particular, has oftentimes been inadequate to receive detainees within 72
 hours of their apprehensions, even if the processing has been completed.

       The Monitor submitted a data request for the first three and one-half
 months of 2019 (January 1–April 15) to determine the number of minors
 daily in CBP custody in the RGV Sector for that period and to also determine
 the duration of the minors’ stay. The daily fluctuations are shown in Figure



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 1. 4 On average, 1,101 minors were in CBP custody daily in the Rio Grande
 Valley, but that does not tell the whole story.


                     Daily Census of Minors in CBP Custody in RGV
    2,500



    2,000



    1,500



    1,000



     500



       -




                                         Figure 1




            While the daily count of minors fluctuates considerably from day to
 day, the data suggest a gradual increase over the period of about 11.5




         The data for the beginning of January appeared to be incomplete, perhaps
            4

 evincing a ramp-up of data capture. For present, descriptive purposes, the first 12
 days of January have been omitted from Figure 1. All numbers discussed in this
 Part 3, concerning CBP, are for combined unaccompanied minors and those arriving
 in family units.


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 additional minors in custody per day through April 2019—a growth rate of
 roughly 350 juveniles per month. 5

       The focus of the Monitor’s analysis of the CBP data is not merely on
 how many minors were in cells designed for far fewer detainees (and adult
 males at that), but also on how long minors remained in custody. The
 standard against which the Monitor assesses this performance is the
 requirement that CBP transfer minors out of CBP custody within 72 hours. 6
 The data indicate that an individual minor in custody on a given day had
 been there, on average, for 62 hours, although that average ranged daily from
 as low as 21 hours to as high as 99. 7 The daily fluctuations are depicted in
 Figure 2.




       5 This figure was derived by regression to find the straight line (shown as the
 dashed line in Figure 1) that best fits the day-to-day fluctuations in the census of
 minors. That line rises at a rate of approximately 11.5 minors per day.
       6See 8 U.S.C. § 1232(b)(3); see also TEDS Standards at § 5.6; FSA § V,
 ¶¶ 12.A, 19.
       7  Because these are “snapshots” of the custodial history of each minor in
 custody as of 6:00 a.m. EST each day, these numbers cannot be taken as a measure
 of the durations the minors will have been held in custody at the end of custody—the
 number relevant to the standard under the statute and TEDS Standards cited in
 the preceding footnote. To illustrate, consider hypothetically that minors enter and
 leave custody at a uniform rate and that each minor will spend exactly three days in
 custody. At any given time, then, one-third of the population will have been there
 for three days, one-third for two days, and one-third for one day. Their average time
 in custody at that moment will be two days, even though eventually each will spend
 three days in custody. Consequently, the time-in-custody snapshot based on the
 census of each minor each day will yield numbers that are systematically lower
 than the average amount of time each minor will have spent in custody when he or
 she is discharged from CBP custody. To derive the ultimate time in custody, the
 calculation must be based on the duration of each minor’s time in custody at the end
 of their custody (upon book-out). That number cannot be calculated with the data

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                 Durations of CBP Custody for Minors in Custody
     600
                                   Each Day
                        Median      Mean          90th Percentile   Maximum
     500


     400
  Hours




     300


     200


     100


          0




                                           Figure 2

              As Figure 2 shows, the medians were lower than the averages (means)
 (varying from 12 to 58 hours), reflecting the presence of the percentage of
 minors who were experiencing more prolonged stays. That is confirmed by
 the top line of Figure 2, showing the number of hours of the individual who,
 on that day, had been in custody the longest. This number ranged from 42 to
 348 hours. CBP has advised the Monitor that these high values typically
 reflect a minor who required prolonged hospitalization. Nevertheless, the
 data indicate that 90 percent of the minors ranged daily from 28 to 118 hours
 in custody (more than four days), averaging 80 hours. The data on the


 CBP has provided the Monitor to date (which is based on an existing CBP
 management report).


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 remaining 10 percent shows that as many as 150–200 minors could be in
 custody from five to ten days. These figures were developed before the
 additional surge of minors in May of 2019.

          Figure 3 shows, on a daily basis, how many minors being held in CBP
 custody had already been there for more than 72 hours 8 and what percentage
 of that population the number represented. 9


              Number of Minors in Custody Each Day Who Have
                   Been in CBP Custody for > 72 Hours
   1000                                                                                             45%
    900                                                                                             40%
    800                                                                                             35%
    700                                                                                             30%
    600
                                                                                                    25%
    500
                                                                                                    20%
    400
    300                                                                                             15%
    200                                                                                             10%
    100                                                                                             5%
      0                                                                                             0%




                 Number of Juveniles Held > 72 Hours          Percent of All Juveniles in Custody




                                                   Figure 3

         The data received by the Monitor categorize the minors’ time in detention
          8

 into categories, two of which are 48 to 72 hours and 72 to 96 hours, which are
 technically not mutually exclusive. The Monitor assumes that no minor actually
 had spent exactly 72 hours as of 6:00 a.m. and that there is no round off involved in
 placing each into the appropriate category, so there should not actually be any
 overlap. For purposes of this Report, minors in the 72-to-96 category are all
 assumed to have been in custody for over 72 hours.

          The first 12 days of January, for which the data appear not to be complete
          9

 (see footnote 7, page 10, above), are again omitted from Figure 3.


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 An average of 227 minors each day, about 17 percent of those held by CBP on
 that day, had been in custody for more than 72 hours, peaking on
 April 1, 2019, when 890 minors—41% of those in custody—had already spent
 more than 72 hours awaiting book-out. 10

       This longer duration of custody has been accompanied by an increased
 detainee population, in turn leading to overcrowding of family units and
 unaccompanied minors into cramped concrete floor cells designed for single
 adult males. After preparing Figures 2 and 3, based on January through
 April 2019 data, the Monitor requested snapshot data in RGV and EPT for
 the period of June 1, 2019 through July 21, 2019. The data reflected both
 severe overcrowding and, on occasion, underutilization.

       For example, the McAllen border station has a capacity for 382 single
 males. Yet, in June 2019, the juvenile population on June 1, 2019, was 633.
 The juvenile population exceeded 600 on three other days in June and was
 between 400 and 599 on another seven days.

       The capacity for CPC-Ursula is 1,500, and during that month, for
 juveniles alone, there were nineteen days in which the juvenile population
 exceeded that total capacity, peaking at 1,787; for nine days that month the
 juvenile population exceeded 1,600, and on five of them it exceeded 1,700.




       10 And, of course, each of them will spend more hours in custody before being
 transferred out of CBP custody, and some minors in CBP custody that day who had
 not yet been in custody for more than 72 hours will ultimately have spent more
 than 72 hours. (See footnote 7, p. 10.) So these numbers cannot be taken to
 represent the number or percentage of minors who will have been in custody for
 longer than 72 hours before booking out.


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       Similarly, the Clint border station’s in EPT’s sector total capacity is
 105. On June 1, 2019, it had a juvenile population as high as 676. The Clint
 facility, although not a part of the Rio Grande Valley Sector, has been of
 significant interest to the Court and has become a part of the Court’s record
 (Doc. # 606-1).

       The Monitor expects that more detailed examination of this data and
 other data provided by the CBP will be utilized in the mediation.

       CBP has responded to the overcrowding by securing additional
 capacity. For example, as described by CBP Juvenile Coordinator Henry A.
 Moak, Jr. in his July 18, 2019 filing (Doc. # 606-1), a new processing facility
 near the Donna port of entry was announced, specifically designed to
 accommodate children and families. It became operational on May 2, 2019,
 and is expected to provide space for approximately 1,300 individuals
 beginning June 17, 2019. On July 1, 2019, there were 753 children on site at
 Donna. The Monitor and Dr. Wise toured the facility on August 1, 2019 in
 preparation for his Draft Interim Report.

       B. Food

       Plaintiffs have alleged a lack of access to both sufficient food and age-
 appropriate food for infants and small children.

       The Monitor has raised these issues with CBP leadership and has
 examined the current menus available in RGV Sector for detainee food and
 drinks. She has been provided a sample listing of the food delivered to both
 adults and minors at the CPC-Ursula and McAllen border station. The
 Monitor has also examined the individual daily logs for minors at McAllen
 border station and CPC-Ursula, which record meals and snacks offered to

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 and received by the minors. The current menus for unaccompanied minors
 and families are presently the subject of review in CBP. The menus and
 contracts which were made available to the Monitor will be considered for
 nutritional and age-appropriate content in the pending mediation.

       C. Ambient Temperature

       As outlined in the First Report, the Monitor personally observed the
 facilities at the McAllen border station and CPC-Ursula and has reviewed the
 Juvenile Coordinator Reports.

       As noted in the First Report, with rare exceptions, the temperature at
 McAllen border station was at or near the lowest limit of the permissible
 temperatures, as low as 66 degrees. Minors continued to complain of severe
 discomfort, and mothers of infants said their children showed distress
 because of ambient temperatures that were measured between 64 and 70
 degrees. The Monitor noted that even participants in the inspection and
 dressed in business clothes often found the temperature uncomfortably cool.
 The issue of changing the low end of the permissible range of temperature
 has been discussed by the Monitor with CBP leadership and that matter will
 be further discussed in the mediation process. The issue of temperature in
 Border Patrol facilities is not a new issue, nor is it limited to minors and their
 families, and has been the subject of expert testimony on the health impacts
 on adult detainees. 11



       11 See Skipworth Decl.; Harber Decl.; and Powitz Decl. at 17–22, Unknown
 Parties v. Johnson, No. CV-15-00250-TUC-DCB, 2016 U.S. Dist. LEXIS 189767 (D.
 Ariz. Nov. 18, 2016). See also Falk B. Effects of Thermal Stress During Rest and
 Exercise in the Paediatric Population. Sports Med. 1998;25:221-240.


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       D. Remaining Issues

       The First Report discussed some of the medical issues and the
 commitment of then-Commissioner of CBP Kevin McAleenan to increase
 medical assessments. The medical concerns have been brought into sharper
 focus by the serious allegations in Plaintiffs’ June 26, 2019 TRO Application.
 Medical care for children, including the special needs of children of tender
 age, is among the topics of the ongoing mediation and of Dr. Wise’s inquiries.



 4. ALLEGED BREACHES OF THE FSA BY ICE

       Currently, the vast majority of unaccompanied minors and families are
 within the custody of either the CBP or ORR. Nevertheless, the Monitor
 continues to review records of the ICE facilities at Dilley and Karnes to
 determine the length of stay and compliance with ICE’s internal standard
 that minors and families be released within 20 days of apprehension.

       As of April 1, 2019, the Karnes Family Residential Center transitioned
 to an adult-male facility. 12 As of May 6, 2019, Karnes had a total population
 of 687 males. The South Texas Dilley population was 1,051 family units.


       12  The services available at Karnes have been described in the First Report as
 particularly designed to provide support for families. Observation by the Monitor of
 the classrooms, library, and available computer rooms confirmed that the facility
 provided young families with time for education more comparable to a school than
 any other facility observed. Children moved freely within the secure facility and
 participated in sports in outside athletic fields and inside gyms. Although the
 Monitor heard of several outbreaks of disease and complaints about long waits for
 medical attention, the on-site medical facilities appeared well designed and well
 stocked, and doctors as well as full-time nursing personnel were available. The
 Monitor has initiated further discussions to determine the reasons for removing the
 facility from the purpose for which it was designed.


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       A. Standards for Duration of Custody

       There persists a common understanding that the FSA and the holdings
 of the various Flores Court rulings stated a “20 day rule,” notwithstanding
 that this was a time limit that arose from Defendants’ request for an
 extension of time from existing standards. As counsel are well aware, failing
 the ability to place a minor in a licensed program or release a minor to an
 authorized adult within the FSA’s prescribed three to five days, in the case of
 an influx or emergency, the minor must be placed in a licensed non-secure
 facility or with an authorized adult “as expeditiously as possible.” As this
 Court ruled in 2015:

             Assuming the existence of an “influx of minors into the
       United States,” Paragraph 12A gives Defendants some flexibility
       to reasonably exceed the standard five-day requirement so long
       as the minor is placed with an authorized adult or in a non-
       secure licensed facility, in order of preference under Paragraph
       14, “as expeditiously as possible.” . . .
             While the Agreement does not permit Defendants to
       routinely detain children in unlicensed, secure facilities “for as
       long as they deem necessary” no matter what the circumstances,
       Paragraph 12A requires that Defendants “place all minors
       pursuant to Paragraph 19 as expeditiously as possible” in “the
       event of an emergency or influx of minors into the United States.”
       This language, on its face, gives Defendants some latitude,
       provided it is exercised reasonably and in good faith, to deal with
       emergency situations.
 Flores v. Lynch, 212 F. Supp. 3d 907, 914 & n.7 (C.D. Cal 2015), aff’d in part
 828 F.3d 898 (9th Cir. 2016).




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          B. Duration of ICE Custody

          ICE has provided the Monitor with ten monthly files, each
 denominated “Flores Report,” listing every accompanied minor 13 in ICE
 custody and containing a record for custody-related events for that minor.
 The Monitor has reviewed a monthly report for every month from November
 2018 through April 2019, 14 for which the data were consolidated for analysis,
 creating a file covering 15,934 minors.

          The Flores Reports contain data both on minors who were in custody
 part of each month but then released, and on minors who were released
 during the month. To avoid the problem inherent in snapshot reports that list
 the days in custody as of a given date, which for minors who remain in
 custody will end up spending more time (see fn. 6, p. 10), the Monitor limited
 the analysis to minors for whom the data include a release date (Book-out
 date).

          There then remains one additional adjustment to be made. Among the
 minors who entered ICE custody most recently, some will have been placed
 elsewhere and some will not. The ones who remain cannot be assumed to be
 representative of all minors who entered ICE custody at the same time, since


           The reports also contain data on a small number of unaccompanied minors
          13

 in ICE custody. This Report excludes from its analysis these UACs. The report also
 contains records from numerous facilities. Those facilities account for about 2% of
 the released accompanied minors. Since the timing requirements cover those
 facilities as well, the small number of minors released from them have not been
 excluded.

         The month in the name of the report appears to be the month in which it
          14

 was prepared, covering the preceding calendar month. So the most recent file,
 denominated April 2019, covers events in March 2019.


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 it may be that those who remain have attributes that will make them
 difficult to place and will wind up averaging more time in custody than those
 who booked out earlier. 15 To minimize this potential bias, the Monitor
 eliminated those cases that had entered ICE during the most recent month
 reported (March 2019 here). 16 That left five months of data, comprising
 11,914 minors.

       The statistics for those minors are shown in Table 2.

                      Days Released Minors Spent in ICE Custody
                        and Total Days in Government Custody
                                        ICE Days      Total Days
                    Mean                   14             18
                    Median                 12             15
                    75th Percentile        17             20
                    90th Percentile        23             26

                                       Table 2

 The table summarizes durations both for the days spent in ICE custody, from
 initial ICE book-in date to book-out date, and the total days in custody, from
 initial apprehension by CBP to book-out. As it shows, roughly 75% of the
 minors spend no more than 17 days in ICE custody and no more than 20 days
 in custody overall. And 90% spent up to 23 days in ICE custody and no more

       15This statistical phenomenon is sometimes called “survivorship bias”—the
 erroneous assumption that cases that are filtered out are not materially different
 from those that remain.
       16 Even in the remaining data, there will be some minors who booked out
 while others who arrived the same day did not, but over 95% of the ICE minors
 remained in custody (combined CBP and ICE) less than 31 days.

       A disadvantage of eliminating the most recent cases is that the report is less
 up-to-date, but the results reported can more reliably be taken as showing the
 eventual duration of minors’ custody during the period of analysis.


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 than 26 days overall. The distribution of discharged minors’ time in ICE
 custody is shown in Figure 4.


                                         Duration of ICE Custody
                      900

                      800

                      700

                      600
   Number of Minors




                      500

                      400

                      300

                      200

                      100

                       0




                            More
                               1
                               3
                               5
                               7
                               9
                              11
                              13
                              15
                              17
                              19
                              21
                              23
                              25
                              27
                              29
                              31
                              33
                              35
                              37
                              39
                              41
                              43
                              45
                              47
                              49
                              51
                              53
                              55
                              57
                              59
                                                 Days in ICE Custody



                                                    Figure 4

 As Figure 4 shows, a substantial majority of the minors were released by ICE
 within 20 days of their apprehension, but the distribution exhibits a long tail.
 There are about 2,000 of the 11,914 minors who spent more than 20 days in
 ICE custody, some of them a matter of months.

                       At the request of the Monitor, ICE Juvenile Coordinator Deane
 Dougherty reviewed eight cases at Karnes and Dilley to determine reasons
 for stays longer than 23 days. Several issues recurred in the eight cases: late
 claims of credible fear of returning to their countries of origin, appeals of
 negative findings of credible fear, time to clear a criminal conviction in the
 country of origin, administrative delays in scheduling credible-fear


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 interviews, and delay in retrieving records. These delays resulted in ICE
 custody ranging from 35 to 69 days. However, it is worth noting that in three
 of the eight cases it appears that the additional steps resulted in positive
 findings of credible fear or release pending resolution of litigation.



 5. ALLEGED BREACHES OF THE FSA BY ORR

       ORR currently maintains a network of over 120 state-licensed care
 facilities in 23 states. During influx periods, ORR also maintains facilities to
 accommodate the increased populations until the minors can be released to
 sponsors or to licensed non-secure facilities.



       A. Duration of Custody

       The Monitor has examined data files provided by ORR containing its
 Unaccompanied Alien Children Program Monthly Statistics (“Monthly
 Statistics”), covering the period from October 2014 through April 2019 and
 showing the number of UACs under the care of ORR each month over the 54-
 month period. The data include monthly average capacity of all ORR facilities
 and a snapshot of the average time under care, as of the time of observation,
 for UACs in ORR custody during that month. 21

       Figure 5 plots the monthly average number of beds and the
 corresponding monthly average UAC population, illustrating how the
 capacity and population demands relate. The average UAC population


       21As noted before, these figures systematically understate how long UACs
 ultimately remain under ORR care. (See fn. 6, p. 10.)


                                         21
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 reached as high as 94% of capacity in June of 2018, and exceeded 90% in
 several other months. It should be emphasized that these percentages do not
 reflect the difficulty of matching a UAC’s age and gender with the facilities
 having surplus beds. And, of course, the ability of ORR to increase capacity
 shown in Figure 5 cannot necessarily be generalized when, for example, a
 sharp influx of UACs arrives when the population may already be near
 capacity. Another constraint to be considered is the geographic distributions
 of UACs and identified sponsors.


                 ORR Monthly Capacity and UACs in Custody, Oct 2014-Apr
                                         2019
       18,000

       16,000

       14,000

       12,000

       10,000

        8,000

        6,000

        4,000

        2,000

           0
                                                    Jun-15




                                                                                                          Jun-16




                                                                                                                                                                Jun-17
                                           Apr-15




                                                                                                                                                                                                                      Jun-18
                         Dec-14




                                                                                                 Apr-16
                                  Feb-15



                                                             Aug-15


                                                                               Dec-15




                                                                                                                                                       Apr-17
                                                                                        Feb-16



                                                                                                                   Aug-16


                                                                                                                                     Dec-16
                                                                                                                                              Feb-17



                                                                                                                                                                         Aug-17




                                                                                                                                                                                                             Apr-18
                                                                                                                                                                                           Dec-17




                                                                                                                                                                                                                               Aug-18




                                                                                                                                                                                                                                                                   Apr-19
                Oct-14




                                                                                                                                                                                                    Feb-18




                                                                                                                                                                                                                                                 Dec-18
                                                                      Oct-15




                                                                                                                                                                                                                                                          Feb-19
                                                                                                                            Oct-16




                                                                                                                                                                                  Oct-17




                                                                                                                                                                                                                                        Oct-18




                                                                                                    Average Monthly Beds




                                                                                                              Figure 5

       The substantial fluctuations over time in the duration of care are
 shown in Figure 6, ranging from a low monthly average of 30 days to a high




                                                                                                                        22
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 of 90 days, with two relatively brief peaks of 90 in April of 2017 and in
 November of 2018. 22


                                                         Average Days under ORR Care Each Month Oct 2014-Apr 2019
                                100

                                 90

                                 80

                                 70
      Average Days under Care




                                 60

                                 50

                                 40

                                 30

                                 20

                                 10

                                  0
                                                                          Jun-15




                                                                                                                                Jun-16




                                                                                                                                                                                      Jun-17




                                                                                                                                                                                                                                            Jun-18
                                                                 Apr-15




                                                                                                                       Apr-16




                                                                                                                                                                             Apr-17




                                                                                                                                                                                                                                   Apr-18




                                                                                                                                                                                                                                                                                         Apr-19
                                               Dec-14




                                                                                   Aug-15
                                                        Feb-15




                                                                                                     Dec-15




                                                                                                                                         Aug-16
                                                                                                              Feb-16




                                                                                                                                                           Dec-16




                                                                                                                                                                                               Aug-17
                                                                                                                                                                    Feb-17




                                                                                                                                                                                                                 Dec-17




                                                                                                                                                                                                                                                     Aug-18
                                                                                                                                                                                                                          Feb-18




                                                                                                                                                                                                                                                                       Dec-18
                                                                                                                                                                                                                                                                                Feb-19
                                      Oct-14




                                                                                            Oct-15




                                                                                                                                                  Oct-16




                                                                                                                                                                                                        Oct-17




                                                                                                                                    Figure 6                                                                                                                  Oct-18




                The Monitor has also been provided more detailed files, denominated
 Discharges, Referrals & Census DOJ-OIL Flores Data (“DOJ-OIL Flores
 Data”), containing records of each minor entering ORR care each month, in
 ORR care on the 15th of each month, and discharged from ORR care each



 22 ORR advises that the data for the subsequent months of May through July show
 a further reduction in duration of care. Those data will be incorporated in
 subsequent analyses.


                                                                                                                                                  23
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 month from January 2018 through May 2019. 23 This more detailed data,
 while covering a shorter period, is amenable to further analysis not possible
 with the monthly summaries. The DOJ-OIL Flores Data files were
 consolidated to facilitate measurement of time in ORR custody across
 months.

       Unfortunately, in the course of the Monitor’s analysis, upon review of
 an analysis performed by Plaintiffs, and after consultation with ORR
 technical staff, it has become clear that the data thus far provided do not
 permit an accurate calculation of the total time a UAC has spent in ORR care
 as of his or her date of discharge. 24 However, the effect of the absence of the
 necessary data appears uniformly to be to understate the calculated duration
 of ORR custody. Consequently the durations calculated by the Monitor from
 these data can safely be taken as minima.



 23These detailed files are also provided by Defendants monthly to counsel for
 Plaintiffs.
 24Specifically, the monthly data on discharged UACs shows the date admitted to
 ORR and the date discharged, which the Monitor had initially subtracted from one
 another to calculate the duration of ORR custody. In the course of exchanging
 analyses with ORR and with Plaintiffs, two issues arose. First, the date coded for
 date of admission (“Date Admitted”) is not, in fact, necessarily the date ORR
 custody began. A UAC may have multiple dates admitted, if they were transferred
 to ORR more than once among ORR facilities. The DOJ-OIL Flores Data contains
 only the last date admitted. The more appropriate measure of the start of ORR
 custody would be the ORR placement date (“ORR_Placement_Date,” sometimes
 coded as “Date_ORR_Approved”). Unfortunately, the DOJ-OIL Flores Data do not
 provide the placement date together with the date of discharge, the two quantities
 required for the appropriate measure of the duration of ORR care. (In principle, the
 Monitor could attempt to link the placement date in other tables to the discharge
 data. However, it is not clear that the data are complete enough to do so for the
 entire population of discharged UACs.) The Monitor is in discussions with ORR in
 order to obtain the data for an updated analysis in the next Report.


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       As will be seen, although there may be disagreements on whether these
 durations show expeditious releases, there is no disagreement among ORR,
 Plaintiffs, and the Monitor that the average duration of ORR care is
 substantially longer than a 20-day benchmark.

       One observation that can be made from the DOJ-OIL Flores Data is
 that the discharge rate varied from month to month in a manner that that
 appears to be statistically related to the duration of ORR custody. Error!
 Reference source not found. contains a bar chart showing the number of
 UACs discharged from ORR care each month. There appears to be a fairly
 consistent increase in the number of UACs discharged, going from 2,975 in
 January 2018 to 8,512 in May 2019—a rate of increase of about 325 per
 month. However, there is a marked drop in the number of discharges starting
 in August 2018, and discharges do not recover to the July 2018 level until
 December 2018.




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                                          Monthly Discharges from ORR and Average Days in ORR
                                                                  Care
                                  9,000                                                         90


                                  8,000                                                         80


                                  7,000                                                         70
      Number of UACs Discharged




                                  6,000                                                         60




                                                                                                     Days in ORR Care
                                  5,000                                                         50


                                  4,000                                                         40


                                  3,000                                                         30


                                  2,000                                                         20


                                  1,000                                                         10


                                     0                                                          0




                                                               Figure 7

                 That is consistent with an apparent concomitant increase in the
 number of days UACs remained in ORR care during this period. The red line
 in Figure 7 shows the monthly average days of ORR care. 25 There appears to
 be a fairly consistent increase in the number of UACs discharged, going from
 2,975 in January 2018 to 8,512 in May 2019—a rate of increase of about 325
 per month. However, there is a marked drop in the number of discharges


 25Because of the problems with the DOJ-OIL Flores Data described at page 4, the
 calculated average number of days in ORR care is not reliable, so the values are not
 shown on the right-hand axis, but it appears reasonable to assume the month-to-
 month fluctuations are fairly approximated.


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 starting in August 2018, and discharges do not recover to the July 2018 level
 until December 2018.

       This period roughly corresponds to reports the Monitor received of a
 change in ORR procedures for clearing recipient families that was said to be
 delaying placements. The Monitor was informed that in the second half of
 2018, ORR began running background checks not only on the individual
 sponsor but also on everyone else living with the sponsor, which, Plaintiffs
 asserted, delayed placements. And that is consistent with a concomitant
 increase in the number of days UACs remained in ORR care during this
 period. The Government has confirmed that ORR issued a series of directives
 to its staff and care-provider network concerning sponsor background checks.
 In a signed declaration, ORR’s Deputy Director Jallyn Sualog described an
 April 2018 memorandum agreement among ORR, CBP, and ICE requiring all
 prospective sponsors and all adult household members to provide
 fingerprints, effective June 2018. (Doc. # 609-1, ¶¶ 12, 14.) That requirement
 was progressively relaxed in operational directives dated December 18, 2018
 and March 23, 2019. (Id. ¶¶ 15, 16.) Those months correspond to increases in
 the number of UACs discharged by ORR. 26 Deputy Director Sualog confirms
 that these operational directives relaxing the fingerprinting requirements
 “significantly reduce the median length of care for UACs. (Id. ¶ 20.)

       It may be useful to consider the duration of ORR custody of UACs in
 terms of two categories of children: those for whom ORR is able to find and
 clear a sponsor to whom the child may be discharged, and those for whom
 such a sponsor cannot be found and who must be housed in an appropriate

 26A third operational directive, dated June 10, 2019 (id. ¶ 17), falls outside of the
 period covered in the data.


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 facility for longer. What constitutes an expeditious release to place a UAC
 with, say, his or her family (which is the dominant type of discharge) may
 not, in least in principle, be the same as what constitutes an expeditious
 release for other circumstances. So in order to determine whether a given
 minor is being released expeditiously, it may be necessary to take into
 account what kind of a release the UAC will eventually receive.

        For this information, the Monitor has relied upon calculations proffered
 by ORR of the duration of care of each discharged UAC, categorized by the
 type of discharge. ORR’s figures are contained in Table 3.




                 UAC Discharged from ORR Care January 2018 to May 2019

                                                                            Average Length of
   Discharge Type                              # of UAC        % of UAC     Care
   Age Out                                            2,907          3.5%                       100
   Age Redetermination                                1,352          1.6%                        46
   DHS Family Shelter                                    23          0.0%                        90
   Immigration Relief Granted                            98          0.1%                       651
   Local Law Enforcement                                 19          0.0%                       123
   Marshal's Service                                       1         0.0%                        15
   Ordered Removed                                       68          0.1%                       126
   Other                                              1,927          2.3%                        69
   Ranaway from Facility                                213          0.3%                       168
   Ranaway on Field Trip                                 45          0.1%                       108
   Reunified (Individual Sponsor)                    73,619         89.6%                        62
                          Sponsor Category 1        32,355          39.4%                        49
                          Sponsor Category 2        34,618          42.1%                        65
                          Sponsor Category 3          6,646          8.1%                       110
   Reunified (Program/Facility)                         702          0.9%                       181
   Voluntary Departure                                1,223          1.5%                       169
   Grand Total                                      82,197        100.0%                         67

                                                Table 3

                                                   28
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       Table 3 shows ORR’s calculation that overall, between January 2018
 and May 2019, discharged UACs were spending 67 days in ORR care.

       Table 3 also shows that the vast majority of the UACs—nearly 90% of
 UACs leaving ORR custody—are discharged to the care of individual
 sponsors. More generally, Table 3 suggests that the different circumstances
 of UACs being discharged calls for a more detailed assessment of the lengths
 of time UACs remain in ORR care, taking into account different
 characteristics of the cases.

       As a measure of this difference, the Monitor sought to determine the
 average duration of ORR care by type of discharge. Again, the Monitor has
 accepted ORR’s calculations, which are shown in Table 2, reflecting how
 many UACs it calculated had been under ORR care at their time of their
 discharge for 120 or more days.




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            UAC Discharged from ORR Care January 2018 to May 2019
                   with LOC greater than or equal to 120 days

          Discharge Type                                 # of UAC       % of UAC
          Age Out                                                839           6.2%
          Age Redetermination                                    157           1.2%
          DHS Family Shelter                                        4          0.0%
          Immigration Relief Granted                              93           0.7%
          Local Law Enforcement                                     8          0.1%
          Ordered Removed                                         33           0.2%
          Other                                                  196           1.5%
          Ranaway from Facility                                  112           0.8%
          Ranaway on Field Trip                                   14           0.1%
          Reunified (Individual Sponsor)                      10,834          80.2%
                                    Sponsor Category 1         2,827          20.9%
                                    Sponsor Category 2         5,185          38.4%
                                    Sponsor Category 3         2,822          20.9%
          Reunified (Program/Facility)                           279           2.1%
          Voluntary Departure                                    937           6.9%
          Grand Total                                         13,506        100.0%

                                             Table 4

 Comparing the second column of Table 3 with the second column of Table 4
 (in other words, comparing the number of UAC in each category with the
 number in that category who had been in ORR care for 120 or more days
 when discharged, it appears that overall 16% of UACs (13,506/82,197)
 remained in ORR care for at least 120 days before being discharged. Within
 the largest discharge category, those reunified with an individual sponsor,
 15% spent at least 120 days under care. The percentage was lower, 9%, for
 those in Category 1 (those placed with parents or legal guardians) and
 highest, 42%, for those in Category 3 (those placed with unrelated sponsors).




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       B. A Temporary Influx Facility, Homestead Florida

       In March 2018, ORR reopened its temporary influx facility on federal
 land in Homestead Florida, in order to accommodate the increased numbers
 of unaccompanied minors in 2018 and 2019.

       The Monitor examined the Homestead facility and conducted
 interviews over two days—i.e., on March 25 and 26, 2019. At the time of her
 examination, there were approximately 1,800 resident unaccompanied
 minors, ages 13–17, approximately two-thirds male and one-third female.

       Over the two days, the Monitor:

          • Participated in joint interviews of the minors with Aurora
             Miranda Maese, the Juvenile Coordinator for ORR.
          • Participated in joint interviews of the minors with lawyers and
             experts representing the Class Members.
          • Reviewed contracts between ORR and Comprehensive Health
             Services, a subsidiary of Caliburn International, the ORR
             contractor at Homestead.
          • Reviewed contract provisions related to safety of location, in case
             of storm or hurricane.
          • Reviewed contracts related to minimum standards of
             performance and quality assurance.
          • Reviewed list of all minors present at the time of the inspection,
             including length-of-stay of each minor.
          • Observed classes for male unaccompanied minors and separate
             classes for female unaccompanied minors, which were held in a



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              100 ft x 200 ft soft-sided structure with soft-sided separations
              between the classrooms.
           • Observed teachers speaking in Spanish and English, using
              microphones in order to be heard over noise from adjoining
              classrooms.
           • Observed two large hygiene structures adjacent to hard-sided
              living quarters and the classroom structure.
           • Observed minors in the south side fenced section, which is
              reserved for 13 to 16 year-old minors, and the north side section,
              which is reserved exclusively for 17 year-olds.
           • Observed and spoke casually to children as they proceeded in
              single-file lines from building to building, under staff supervision,
              to classes, meetings with case workers, and physical exercise.
           • Interviewed staff members regarding the rules of behavior for the
              minors and scheduled individual and group counseling sessions.
           • Visited the cafeteria and interviewed the cafeteria manager
              regarding menus and nutritional content.
           • Observed caseworkers in small room with telephone banks
              designated for implementation of family reunification.




         At the Monitor’s request, ORR developed explanatory tables describing
 the lengths of stay at the Homestead facility for May 9, 2019, which are set
 out below. Table 5 shows that, on that day, 2,262 UACs were housed at
 Homestead, 89% of whom had, on that date, been at Homestead for up to 45
 days.



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                        Duration of Stays at Homestead
                           Census on May 9, 2019 at 7:30 a.m.
                   Days of Care         UACs             % of UACs
                    0-45 days               2,013          89.0%
                    46-99 days                238          10.5%
                   100-200 days                11          0.1%
                    200 + days                 -           0.0%

                                       Table 5

       The Monitor had observed that duration to discharge appears to be
 greater for cases that require a home study, the process in which ORR
 assesses the safety of the home to which the UAC is to be released. Table 6
 illustrates the effect. It shows that from April through September 2018,
 UACs in Category 1—UACs to be placed with a parent or legal guardian—
 averaged 49 days at Homestead, compared to 58 days for UACs in
 Category 2—those to be placed with other relatives. Within Category 1, those
 requiring home study were held in Homestead for an average 94 days,
 compared to 47 days for UACs not requiring home study. Likewise in
 Category 2, those requiring home study were held 108 days, compared to only
 64 for those not requiring home study.




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                  Days of Care at Homestead – Last 6 Months of FY 2018
                  Sponsor Category 1              Sponsor Category 2
                          Home                                      Home                  Categories
              No Home     Study                     No Home         Study                   1&2
               Study      Req'd         Combined     Study          Req'd     Combined    Combined
   Apr-18           22                        22          46                        46           32
   May-18           27                        27          43                        43           34
    Jun-18          32        82              32          49            60          49           41
     Jul-18         52        77              54          61            70          61           59
   Aug-18           65        98              66          76           102          77           73
   Sep-18           77       107              80          86           119          89           85
  Averages          47        94              49          64           108          65           58

                                               Table 6

        Table 7 shows the corresponding data for October 2018 through April
 2019: Home study added 38 days in Homestead (63 v. 25) for Category 1 and
 49 days (89 v. 40) for Category 2.

                    Days of Care at Homestead – First 7 Months of FY 2019
                   Sponsor Category 1                     Sponsor Category 2
                                                                                              Categories
                                                                                                1&2
              No Home    Home                        No Home    Home
                                  Combined                               Combined             Combined
               Study  Study Req'd                     Study  Study Req'd

    Oct-18           73                        73              80                        80           77
    Nov-18           76            88          76              91           114          91           85
    Dec-18           69           126          71              88           125          90           80
     Jan-19          57           128          60              66           142          67           64
    Feb-19           44           103          49              54           119          56           54
    Mar-19           33           113          36              41           109          43           40
    Apr-19           25            63          26              40            89          40           33
   Averages          42           102          44              54           112          56           50

                                              Table 7

        As discussed in the introduction, a mediation ordered by the Court was
 held in Washington D.C. on June 20 and 21, 2019. The issues to be resolved
 are still pending as noted on page 2. The Monitor will draw no conclusions
 from her observations and investigation thus far.

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       Nevertheless, it should also be noted that the Monitor has reviewed a
 statement from Jonathan Hayes, Director, Office of Refugee Resettlement
 dated August 14, 2019, supplied to Plaintiffs and the Monitor stating that all
 UACs previously sheltered at Homestead have been reunified with an
 appropriate sponsor or transferred to a state-licensed facility within the
 network of ORR-funded care providers and at this time, no children remain
 at Homestead and the facility is not accepting referrals. He further stated
 that ORR determined continued activation of Homestead is not necessary.
 However, he cautioned that Homestead is operating with reduced staff in the
 event the number of UACs referred to ORR increase significantly.

       C. Policy and Procedures for Administration of Psychotropic
          Drugs

       The First Report discussed ORR’s administration of psychotropic drugs
 to minors at Shiloh without informed written consent by a person authorized
 by state law or a court order. That was the subject of an initial meeting
 between Plaintiffs’ experts and ORR and contractor personnel, leading to a
 subsequent meeting of the parties’ medical professionals. See First Report,
 at 36, 42–43 (Doc. # 528).

       The discussions have made significant progress, but remain the subject
 of mediation.




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 6. SIGNIFICANT EVENTS NOT SPECIFICALLY COVERED
    BY THE COURT’S PRIOR ORDERS
         Since the spring of 2018, seven minors have died while in federal
 custody or shortly thereafter. 27 The following accounts draw from various
 media reports and public information released by CBP. Investigations by
 HHS and DHS OIGs, FBI, and local law enforcement are ongoing and have
 not yet been made public.


 Sept. 29, 2018
 Darlyn Cristabel Cordove-Valle, 10, El Salvador 28

       Darlyn was born with a heart murmur. She was brought to the U.S.
 border by acquaintances, who drove for four days from El Salvador. She was
 apprehended by CBP on March 1, 2018, at 9:45p.m. Upon examination, CBP
 officials determined that she had a heart condition. During her welfare check
 the next morning, she complained of chest pain and was sent to Edinburg
 Children’s Hospital. On March 3, 2018, she was cleared for travel and
 returned to CBP custody, who then transferred her to HHS custody. HHS
 placed her at Baptists Christian Family Services shelter in San Antonio. At
 this time, HHS considered her to be “medically fragile” and she underwent


 27See generally Molly Hennessy-Fiske, Six Migrant Children Have Died in U.S.
 Custory. Here’s What We Know About Them, L.A. Times (May 24, 2019),
 https://www.latimes.com/nation/la-na-migrant-child-border-deaths-20190524-
 story.html See also Joel Rose, A Toddler’s Death Adds To Concerns About Migrant
 Detention, NPR (August 28, 2018), https://www.npr.org/2018/08/28/642738732/a-
 toddlers-death-adds-to-concerns-about-migrant-detention
 28E.g., Jamie Ehrlich and Rosa Flores, CBP Identifies 10-year-old Girl Who Died In
 Custody in September, CNN (May 25, 2019),
 https://www.cnn.com/2019/05/24/politics/cbp-child-identified-us-custody-death-
 darlyn-cristabel-cordova-valle/index.html


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 surgery in San Antonio, which left her in a coma. In May 2018, she was
 transferred to a nursing facility in Phoenix.

       On September 26, 2018, she was transferred to a nursing facility in
 Omaha, to be closer to her family. Three days later, she was taken to
 Children’s Hospital of Omaha, and died due to respiratory distress and fever.

 Dec. 8, 2018
 Jakelin Caal Maquín, 7, Guatemala (CBP information was provided in First
 Report.) 29

       Jakelin and her father were apprehended on December 6, 2018, at 9:15
 p.m. Her father reported that she was vomiting. Within twelve hours of their
 apprehension, she was hospitalized. An EMT revived her twice and she was
 flown to a hospital in El Paso, where she died the next day. An autopsy report
 stated her cause of death was bacterial infection streptococcal sepsis, which
 progressed rapidly and caused multiple organs to fail.




 29E.g., Amir Vera, Autopsy Determines 7-year-old Guatemalan Girl Died From
 Sepsis While In US Custody, CNN (March 30, 2019)
 https://www.cnn.com/2019/03/29/us/guatemala-jakelin-caal-maquin-
 autopsy/index.html; Joel Rose, A Toddler’s Death Adds To Concerns About Migrant
 Detention, NPR (August 28, 2018), https://www.npr.org/2018/08/28/642738732/a-
 toddlers-death-adds-to-concerns-about-migrant-detention




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 Dec. 24, 2018
 Felipe Gomez Alonzo, 8, Guatemala (CBP information was provided in First
 Report) 30

       Felipe and his father were apprehended on December 18, 2018, at
 about 1:00p.m., and were transferred to Paso Del Norte processing center. 31
 On December 20, they were transferred to El Paso Border Patrol Station. Due
 to overcrowding at the El Paso station, they were transferred to the
 Alamogordo Border Patrol Station two days later.

       On Christmas Eve, CBP agents took Felipe to the Gerald Champion
 Regional Medical Center, in Alamogordo, where he was observed for 90
 minutes, diagnosed with a cold, given ibuprofen and amoxicillin, and was
 returned to federal custody. At about 7:00 p.m., Felipe vomited. His father
 declined medical assistance. At 10:00 p.m., agents took him back to the
 hospital, since there was no EMT on duty. His father reported that Felipe’s
 condition had suddenly worsened. On the way to the hospital, Felipe vomited
 again and lost consciousness. The hospital was unable to revive him. A draft
 autopsy report stated that Felipe had had the flu and a bacterial infection.


 30E.g., Maria Sacchetti, Official: Guatemalan Boy Who Died in U.S. Custody Tested
 Positive For Influenza B, Final Cause of Death Remains Under Investigation, Wash.
 Post (December 28, 2018),
 https://www.washingtonpost.com/local/immigration/father-whose-son-died-in-
 custody-knew-bringing-him-would-ease-entry-into-us/2018/12/27/4c210bfc-0a1d-
 11e9-85b6-41c0fe0c5b8f_story.html; Chris Boyette, Dr. Edith Bracho-Sanchez and
 Michelle Mendoza, Guatemalan Boy Died Of Flu And A Bacterial Infection While In
 US Custory, Autopsy Shows, CNN (April 2, 2019),
 https://www.cnn.com/2019/04/02/us/guatemala-felipe-gomez-alonzo-
 autopsy/index.html
 31Paso Del Norte processing center is separate from Paso Del Norte Port of Entry in
 El Paso, Texas.


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 April 30, 2019
 Juan de León Gutiérrez, 16, Guatemala 32

       Juan traveled for about fifteen days with smugglers. While traveling,
 he complained of headaches, hunger, and poor sleep to his mother.

       Juan was apprehended by CBP on April 19, 2019. He was transferred
 the next day to Southwest Key Casa Padre. On April 21, he woke up with
 chills, a fever and a headache. He was taken to the hospital, where he was
 treated and released. The next day, he was taken to the emergency room and
 placed in intensive care. Still in HHS custody, he was eventually airlifted to a
 children’s hospital in Corpus Christi, and underwent an emergency operation
 to relieve pressure from a severe infection in his frontal lobe.

 May 14, 2019
 Wilmer Josué Ramírez Vásquez, 2½, Guatemala 33

       Wilmer and his mother were apprehended by CBP on April 3, 2019. On
 April 6, his mother told agents that he was sick, and he was taken to



 32E.g., Nicole Chavez, Michelle Mendoza, and Catherine E. Shoichet, A Boy Left
 Home After A Drought Left His Family Eating One Meal A Day. He Died In US
 Custody Weeks Later, CNN (May 7, 2019),
 https://www.cnn.com/2019/05/06/us/guatemalan-boy-federal-custody-death-
 family/index.html
 33E.g., Adolfo Flores, A 2-year-old Boy Detained At The Border Has Died After
 WeeksIn The Hospital, BuzzFeeed News (May 21, 2019),
 https://www.buzzfeednews.com/article/adolfoflores/toddler-dies-immigrant-border-
 us-texas-guatemala; Robert Moore and Maria Sacchetti, Toddler Who Died After
 Being Taken Into Custody At The Mexican Border Suffered Multiple Diseases, Wash.
 Post, (Jul. 2, 2019), https://www.washingtonpost.com/immigration/toddler-who-died-
 after-being-taken-into-custody-at-the-mexican-border-suffered-multiple-
 diseases/2019/07/02/5fda6674-9d03-11e9-9ed4-c9089972ad5a_story.html


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 Providence at Horizon hospital. The next day he was transferred via
 ambulance to Providence Children’s Hospital in El Paso.

       On April 8, they were given a Notice to Appear in immigration court
 and released from CBP custody at the hospital. Wilmer was diagnosed with
 pneumonia. He remained a patient at the hospital for a month and
 subsequently died there.

 May 20, 2019
 Carlos Hernandez Vásquez, 16, Guatemala 34

       Carlos was apprehended on May 13, 2019, and had an initial health
 screening. He was held at a CBP processing facility for six days, where he
 informed staff that he was feeling sick. A nurse practitioner diagnosed him
 with the flu and prescribed Tamiflu. That night he was transferred to
 Weslaco Station in order to contain the illness. (The Los Angeles Times
 reports that he first complained of symptoms at Weslaco, but other news
 outlets reported that he was moved to Weslaco after he was diagnosed in
 order to prevent the spread of the flu.) He was found dead the next morning,
 an hour after a wellness check. An autopsy concluded that Carlos died of the
 flu complicated by pneumonia and sepsis.




 34E.g., Graham Kates and Angel Canales, Guatemalan Teen Boy Is Latest Migrant
 Child To Die In U.S. Custody, CBS News (May 21, 2019),
 https://www.cbsnews.com/news/guatemalan-teen-boy-migrant-child-dies-in-border-
 patrol-custody; Robert Moore, Autopsy Offers Jarring new Details About The Death
 Of A 16-year-old Guatemalan Boy, Texas Monthly (Jul. 24, 2019),
 https://www.texasmonthly.com/news/autopsy-details-death-guatemalan-migrant-
 child/


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 May 10, 2018
 Mariee Juárez, 20 months, Guatemala 35

       Mariee and her mother were apprehended by CBP on March 1, 2018.
 They were held by CBP for three days and transferred to South Texas family
 Residential Center (Dilley). Mariee was deemed healthy at her intake
 medical exams. On March 11, Mariee began to show symptoms of a cold.
 While at Dilley, Mariee was seen by health care providers but not by a
 medical doctor. Her illness was unstable over the next few weeks, and ICE
 cleared Mariee and her mother for release and flying to New Jersey on
 March 25, 2018.

       On March 26, Mariee was taken to a pediatrician, who prescribed a
 nebulizer and instructed her mother to take her to the emergency room if her
 breathing worsened. Later that day, Mariee was taken to the emergency
 room at JFK Medical Center. Two days later, she was transferred to the ICU.
 On March 30, Mariee was transferred to Jersey Shore University Medical
 Center where she was placed in a medically induced coma. On April 17, she
 was transferred to the Children’s Hospital of Philadelphia, where they had a
 special Extracorporeal Membrane Oxygenation heart-lung bypass machine.
 On May 10, 2018, Mariee died from viral pneumonitis.




 35E.g., Taylor Dolven and Kathleen Caulderwood, This Toddler Got Sick In ICE
 Detention. Two Months Later She Was Dead, Vice News (Aug.27, 2018),
 https://news.vice.com/en_us/article/paw9ky/toddler-died-after-getting-sick-in-ice-
 custody; Joel Rose, A Toddler’s Death Adds To Concerns About Migrant Detention,
 NPR (August 28, 2018), https://www.npr.org/2018/08/28/642738732/a-toddlers-
 death-adds-to-concerns-about-migrant-detention




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       Texas Child and Protective Services opened an investigation into Dilley
 and Mariee’s death.



 7. NEAR-TERM EVENTS
       The principal proximate events concern the medical issues at CBP. The
 Monitor expects to resume the mediation on the CBP issues after receipt of
 Dr. Wise’s final Interim Report, the draft of which was delivered to counsel
 on August 15, 2019. The Monitor will continue her investigation and analyses
 in order to reach recommendations to be made in her next report. She
 attended a site examination with Dr. Wise on August 1, 2019, and will be
 conducting additional document review and continue developing statistical
 analyses of CBP and ORR issues. In connection with mediations, she will
 share the results of those efforts with counsel. Formal mediation on these
 issues will resume in early September after Dr. Wise submits the final draft
 of his Interim Report to the Monitor on August 29, 2019. (Doc. ## 599, 603.)

       The Monitor expects that the other two pending proceedings—i.e., (1)
 issues at Homestead, including expeditious release of UACs, and (2)
 psychotropic-drug informed consent at Shiloh—will be resolved in September,
 either with agreement or, in the absence of agreement, by proceeding to
 litigate the issues. The monitor expects to continue to draw upon Dr. Wise’s
 expertise for health-related issues, whether in the context of mediation or in
 formulating findings and recommendations to the Court.




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